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                         IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 In re:                                                 § Chapter 7

 MFF DCK,LLC                                            §
                                                        § Case No. 17-40850
                                   Debtor.              §




          DEBTOR'S SUBMISSION OF SCHEDULES OF ASSETS AND LIABILITIES
                     AND STATEMENT OF FINANCIAL AFFAIRS

                   MFF DCK,LLC, debtor herein, hereby submits its Schedules of Assets and

 Liabilities and Statement of Financial Affairs.

 Dated: March 17, 2017                            Respectfully submitted,


                                                   /Michael D. Warner
                                                  Michael D. Warner, Esq.(TX Bar No. 00792304)
                                                  Benjamin L. Wallen, Esq.(TX Bar No. 4102623)
                                                  COLE SCHOTZ P.C.
                                                  301 Commerce Street, Suite 1700
                                                  Fort Worth, Texas 76102
                                                  817-810-5250 Telephone
                                                  817-810-5255 Facsimile
                                                  Email: mwarner@coleschotz.com
                                                  Email: bwallen@coleschotz.com


                                                  Attorneysfor Debtor




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Debtor name          MFF DCK, LLC

United States Bankruptcy Court for the:             NORTHERN DISTRICT OF TEXAS

Case number fit known) 17-40850-rtn7
                                                                                                                                      [~ Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

Part 1:               -

1. Gross revenue from business

     ❑ None

       Identify the beginning and ending dates of the debtor's fiscal year,                    Sources of revenue                         Gross revenue
       which may be a calendar year                                                            Check all that apply                       (before deductions and
                                                                                                                                          exclusions)

       For prior year:                                                                         ~ Operating a business                              $2,117,289.00
       From 1/01/2016 to 12/31/2016
                                                                                               ~ Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

              List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments ortransfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425.(This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     ❑ None

       Creditor's Name and Address                                         Dates.                Total amount of value         Reasons for.payment or transfer
                                                                                                                               Check all that apply
       3.1.                                                                                                   Unknown          ❑ Secured debt
              See Attachment 1
                                                                                                                               ❑ Unsecured loan repayments
                                                                                                                               ❑ Suppliers or vendors
                                                                                                                                 Services
                                                                                                                               ❑ Other




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4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of ali property transferred to or for the benefit of the insider is less than $6,425.(This amount
   may be adjusted on 4101/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; a~liates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1. See Attachment 1                                                                                 Unknown


5. Repossessions,foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

     ~J None

      Creditor's name and address                              Describe of the Property                                       Date                 Value of property

      See Attachment 1                                                                                                                                    Unknown



6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
   debt.

     ❑ None

      Creditor's name and address                              Description of the action creditor took                    Date action was                     Amount
                                                                                                                          taken
      See Attachment 1                                                                                                                                    Unknown
                                                               Last 4 digits of account number:


             legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None

              Case title                                        Nature of case            Court or agency's name and                 Status of case
              Case number                                                                 address
      7.1.    Hardie's Fruit &Vegetable Co.                     Money Owed                United States District Court               ]Pending
              v. My Fit Holdings, LLC                                                     Northern District of Texas,                ❑ On appeal
              3:17-CV-00460                                                               Dallas Division                            ❑Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.




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     ❑ None

      Custodian's name and Address                              Describe the property                                                  Value
      See Attachment 1                                                                                                                                 Unknown

                                                                Gase title                                                             Court name and address

                                                                Case number

                                                                     of seder or assignment




             Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipients name and address                       Description of the gifts or contributions                Dates given                          Value

      9.1. See Attachment 1
                                                                                                                                                       Unknown

              Recipients relationship to debtor




             Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss          Value of property
       how the loss occurred                                                                                                                                 lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tortliability,list the total received.
                                                                List unpaid claims on Official Form 106A(B (Schedule
                                                                A/B: Assets —Real and Personal Property).
      See Attachment 1                                                                                                                                  Unknown


I~i~:~ Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case. NOTE: The amounts listed below relate to the representation of MFF DCK, LAC and sixteen (16) related
    debtors.

     ❑ None.




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               Who was paid or who received                         If not money, describe any property transferred    Dates               Total amount or
               the transfer?                                                                                                                         value
                Address
      11.1. Cole Schotz, P.C.
            301 Commerce Street
            Suite 1700
            Fort Worth, TX 76102                                                                                       3/1/17                 $20,000.00

                Email or website address
                mwarner@coleschotz.com

                Who made the payment, if not debtor?
                Marlin Management Company, LLC


       11.2. Enterprise Management
             Advisors, LLC                                                                                             2/1/17
             601 S. Figueroa Street                                                                                    ($120,000);
             Suite 4050                                                                                                2/14/16
             Los Angeles, CA 90017                                                                                     ($95,509)             $215,509.00

                Email or website address
                dhail@ema-group.com

                Who made the payment, if not debtor?
                My Fit Foods, LLC


       11.3.                                                                                                           216117
                                                                                                                       ($25,000 -
                                                                                                                       MFFj;
                                                                                                                       2/15/17
                Pachulski Stang Ziehl &                                                                                ($25,000 -
                Jones LLP                                                                                              MFF);
                10100 Santa Monica Blvd.                                                                               2~27~~7
                13th Floor                                                                                             ($50,000 -
                Los Angeles, CA 90067                                                                                  Marlin                $100,000.00

                Email ar website address
                jdulberg~pszjlaw.com

                Who made the payment, if not debtor?
                My Fit Foods, LlC and Marlin
                Managment Company




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to aself-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None

       Name of trust or device                                      Describe any property transferred             Dates transfers          Total amount or
                                                                                                                  were made                          value


       See Attachment 1                                                                                                                          Unknown

       Trustee




13. Transfers not already listed on this statement
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    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                         Description of property transferred or                   Date transfer             Total amount or
               Address                                        payments received or debts paid in exchange              was made                            value
      13.1
               See Attachment 1                                                                                                                       Unknown

               Relationship to debtor




               Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


     ❑ Does not apply

                Address                                                                                                 Dates of occupancy
                                                                                                                        From-To
      14.1. See Attachment 1


~~ Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    -diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

             No. Go to Part 9.
    [~       Yes. Fill in the information below.


                Facility name and address.                    Nature of the business operation,including type of services              If debtor provides meals
                                                              the debtor provides                                                      and housing, number of
                                                                                                                                       patients in debtor's care
       15.1.

                                                              location where patient records are maintained (if different from         How are records kept?
                                                              facility address). If electronic, identify any service provider.
                                                                                                                                       Check al! that apply:
                                                                                                                                          Electronically



               Personaiiy Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

     ❑       No.
             Yes. State the nature of the information collected and retained. See Attachment 1


                  Does the debtor have a privacy policy about that information?
                  ❑ No
                     Yes




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17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA,401(k), 403(bj, or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 ~~i         Certain Financial Accounts Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

    []None
          Financial Institution name and                        last 4 digits of       Type of account or      Date account was                   Last balance
          Address                                               account number         instrument              closed,sold,                   before closing or
                                                                                                               moved,or                                transfer
                                                                                                               transferred
       18.1. See Attachment 1                                   ~~-                    ❑Checking                                                     Unknown
                                                                                       ❑ Savings
                                                                                       ❑ Money Market
                                                                                          Brokerage
                                                                                          Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with           Description of the contents                Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    list any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


     (~ None

       Facility name and address                                     Names of anyone with           Description of the contents                Do you still
                                                                     access to it                                                              have it?


              Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    list any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

         None

       Owner's name and address                                      location of the property.      Describe the property                                   Value
       See Attachment 1                                                                                                                               Unknown



              Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

       Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
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     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
    [~      Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                           Status of case
       Case number                                                   address
                                                                                                                                                      []Pending
                                                                                                                                                      ❑ On appeal
                                                                                                                                                      ❑ Concluded


                                                                                                                                                       ❑ Pending
                                                                                                                                                       ❑ On appeal
                                                                                                                                                       ❑ Concluded


23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address




24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
     ❑      Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address




              Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

     C None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1. See Attachment 1                                                                                     EIN:

                                                                                                               From-To


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.


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                None

       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.1.      See Attachment 1



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
         within 2 years before filing this case.

          Cj None

       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.      See Attachment 1



    26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

          ❑ None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.      See Attachment 1



    26d. list all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          ❑ None

       Name and address
       26d.1. See Attachment 1



27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case? See Attachment 1

     ❑      No
     ❑      Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amountand basis(cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Daryl Ribeiro                                 338 Pier Avenue                                      Chief Financial Officer
                                                     Hermosa Beach, CA 90254

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       My Fit Foods, LLC                              PO Box 61027                                        Manager
                                                      Potomac, MD 20859




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       Name                                         Address                                              Position and nature of any          % of interest, if
                                                                                                         interest                            any
      George Blanco                                 Enterprise Management Advisors,                      Chief Restructuring Officer
                                                    PLC
                                                    601 S. Figueroa St., Suite 4050
                                                    Los Angeles, CA 90017


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions? See Attachment 1


    ❑        No
    [~       Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised? See Attachment 1

    ❑        No
    [~       Yes. Identify below.

               Name and address of recipient                   Amount of money or description and value of              Dates            Reason for
                                                               property                                                                  providing the value
      30.1


               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

             No
             Yes. Identify below.

    Name of the parent corporation                                                                           Employer identification number of the parent
                                                                                                             corporation
    My Fit Foods, LLC                                                                                        EIN:      XX-XXXXXXX


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

     ~~j     No
     ❑       Yes. Identify below.

    Name of the parent corporation                                                                           fmpioyeridentification number of the parent
                                                                                                             corporation
                                                                                                             EIN:




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[7e~for name           MFF DCK, LLC

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Statement of financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                           this form. On the top                           vt any additional pages,
The debtor must answer every question. If more space Is Headed, attach a separate sheet to
v~rl:e the debtor's name and case number (if known),

               Signature and Declaration
                                                                                              g property or obiaieing money or properly by fraud in
     WARNING -- B~i;krup:cq tread is a sariou~s came. PAa~ing a fa:se sta~ement, concealin
                                                    in     i.;p to $500,000 or imprison ment for up to 20 year,, or both.
     connec~icn ~o;i!h a b~nkrupt~y case ~~an resu~t fines
     18 'u.S-C •~§ 15<, 134?, 1519, and 35'1.
                                                                                                         ,       anc have a reasonable belief that the information is   true
     1 ~.~~~e exarr;~,~ eci t~~e ir,iormaticn in this Ste erne;zt o~ i=inerci~l F,rf~~i;s and env a:tach~~ ~e~ts
     era correct.

       decia,-e under per~sl ti~ of penury that tf;a +oregning is true and Correc#.

 E.k~cu;e~ cn           March             2017              -
         ~   /         -               ~—
                              -,~~-`--j-


-~                 ~z~~~ — -- 14.h.~~-~'''-
 Si~7~ulre c` ind~.vidual s'.gr,ing cn t~ehalF c~f ine ceb,or
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 Posl;~on or rc'.at~.onsh~,q ~o debtor            Chief Financial Officer
                                                                                                                       tcy (Official Form 207j attached?
                                                                   l Affairs for Non-Individuals Filing for Bankrup
Arc additional p:~ges fo Statement of Financia
    v~
~ v~




                                                                                                                                                                           ~2g91
                                                                                             for Non-individuals Filing for bankruptcy
                                                            Statement of Financial Affairs
Uf(aal Form, zG'                                                                                                                                             pest Case Bn~ni~t~y

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 The debtor is unable to provide a complete response to this request at this time given a lack of
 access to the company books and records to support the debtor's response. All books and
 records ofthe debtor including data necessary for the debtor to complete this entry are in the
 possession of the chapter 7 trustee appointed in this case.




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                     ATTACH~E N T 2
    Type                 Name                        Addressl                  Address2             City       State     Zip
Landlord   1000 Main LLC                    Dept. 973                    P.O. Box 4346      Houston         Texas        77210-4346
Landlord   4015 Lemmon L.P.                 2100 West 7th St                                Fort Worth      Texas        76107
Landlord   4200 Lamar Partners LTD          PO Box 660394                                   Dallas          Texas        75266-0394
Landlord   Billiard Designs, Inc.           2601 West Ln Dr Unit C                          Houston         Texas        77027
Landlord   Boyer Hanson Partners            4940 Campus Dr. Ste#D                           Newport Beach   California   92660
Landlord   David McMahon                    6020 Westheimer Rd                              Houston         Texas        77057
                                                                                                                                                              Case 17-40850-mxm7




           Family Properties of Chicago
Landlord   LLC                              1209 W. Balmoral Ave.                           Chicago         Illinois     60640

Landlord   Foothills Shopping Center LLC    5343 North 16th St Ste 290                      Phoenix         Arizona      85016


landlord   Gainey Village Retail Ctr, LLC   PO Box 310300                Property: 251510   Des Moines      Iowa         50331-0300
Landlord   Williams Tower, LP               PO Box 952132                                   Dallas          Texas        75395-2132
           Independence Woods, LLC.         PO Box 975245                                   Dallas          Texas        75397-5245
                                                                                                                                            Document




Landlord

Landlord   Jim R Smith                      1400 Post Oak Blvd Ste 650                      Houston         Texas        77056
Landlord   Kagan Realty Investors           8801 Knights Rd                                 Houston         Texas        77054


Landlord   KAPE Property Management Co PO Box 6474                                          Beverly Hills   California   90212-1474

           Lake Pointe Shopping Center,
                                                                                                                                                        Page 15 of 17




Landlord   LP                            PO Box 301679                                      Dallas          Texas        75303-1679
Landlord   Mockingbird Park LTD          4560 Beltline Rd. Ste. #400                        Addison         Texas        75001
           North Hills C/O Regency
Landlord   Centers, LP                   PO Box 676473                                      Dallas          Texas        75267-6473
Landlord   PMT Partners XI ltd.          109 N. Post Oak Ste 550                            Houston         Texas        77024
Landlord   CFC Transactions LLC          7347 Solution Center            Lockbox 777347     Chicago         Illinois     60677-7003
Landlord   RPI Management                5333 Gulfton St                                    Houston         Texas        77081
                                                                                                                                      Doc 10 Filed 03/17/17 Entered 03/17/17 15:39:49




Landlord   SF/Voss LTD                   Dept. 989                       P.O. Box 4346      Houston         Texas        77210
Landlord   Shea &Tatum Associates LP     Dept 329777 20309 42562         PO Box 73001       Cleveland       Ohio         44193
           Revesco(USA) Properties of
Landlord   Highland Knolls, LLP.         5291 E. Yale Avenue                                Denver          Colorado     80222
           Tech Ridge Center C/0 Regency
                                                                                                                                                              Desc Main




Landlord   Centers                       PO Box 677493                                      Dallas          Texas        75267-7493
Landlord   Timber Prairie LP                 PO BOX 660394                                   Dallas          Texas        75266-0394
Landlord   VPBH Associates LP                Dept. 306                     P.O. Box 4346     Houston         Texas        77210-4346
Landlord   Weingarten Realty                 PO Box 301074                                   Dallas          Texas        75303-1074
                                             11455 E) Camino Real
Landlord   AAT Alamo Quarry, LLC.            Ste#200                                         San Diego       California   92130-2047
Landlord   Brentwood Shopping Center         11701 Wilshire Blvd #7                          Los Angeles     California   90025
                                             2001 North Halsted St. Ste.
                                                                                                                                                               Case 17-40850-mxm7




Landlord   157 West North Ave., LLC          302                                             Chicago         Illinois     60614
           Bradford Management
Landlord   Company                           3100 McKinnon St. Ste. #400                     Dallas          Texas        75201
                                             7904 N. Sam Houston Pkwy.
Landlord   Spring Cypress Village, L.P.      4th Floor                                       Houston         Texas        77064

Landlord   Lakeside Retail, L.P., Dept. 377" PO Box 204496                                   Dallas          Texas     75320-4496
                                                                                                             Massachus
                                                                                                                                             Document




Landlord   Acadia 639 West Diversey, LLC     PO Box 415980                                   Boston          etts      02241-5980
           Ventura Boulevard Associates,     12616 Ventura Boulevard -
Landlord   LTD.                              2nd Floor                                       Studio City,    California   91604
Landlord   Simha Partnership                 P.O. Box 15996                                  Beverly Hills   California   90209-1996
Landlord   Pacific Castle MGMT,Inc.          P.O. Box 745879                                 Los Angeles     California   90074-5879
           Prescott Interests Lovers /
                                                                                                                                                         Page 16 of 17




Landlord   Inwood, LTD                       7979 Inwood Road Ste#225                        Dallas,         Texas        75209-3376
Landlord   HEB Grocery Company, LP           Dept 919                 P.O. Box 4346          Houston         Texas        77210
           South Memorial Development                                 7060 South Yale
Landlord   Group, LLC.                       Attn: Bob Burke          Ste#900                Tulsa           Oklahoma 74137
           Tulsa Real Estate Investment
Landlord   Limited, L.P.                     4428 S. Florence Ave.                           Tulsa           Oklahoma     74105
Landlord   WSG Wyndham Plaza, LTD.           PO Box 205153                                   Dallas          Texas        75320-5153
                                                                                                                                       Doc 10 Filed 03/17/17 Entered 03/17/17 15:39:49




Landlord   CP/IPERS Austin Lake, LLC.        c/o Clarion Partners          P.O. Box 732568   Dallas          Texas        75373-2568
Landlord   LC2 Realty, LLC.                  2901 Barton Skyway #1808                        Austin          Texas        78746
Landlord   RKJR Properties, LTD              5934 Royal Lane, Ste. #250                      Dallas          Texas        75230

           Frisco bate Shopping Center
                                                                                                                                                               Desc Main




Landlord   Dallas, TX. Limited Partnership   P.O. Box 93070                                  Rochester,      New York     14692
           Polo Towne Crossing Plano, TX.
Landlord   Limited Partnership            9330 lBJ Fwy., Ste. #1080                     Dallas          Texas        75243-3445
Landlord   Knight Real Estate Corp        307 E. 2nd Street                             Austin          Texas        78701
Landlord   Edens Limited Partnership      Dept #2614                  P.O. Box 536856   Atlanta         Georgia      30353-6856
                                                                      1568 Solutions
Landlord   Clybourn Commons                C/0 Regency Centers, L.P.  Center            Chicago         Illinois     60677-1005
           CH Realty VI/R Houston Wood
                                                                                                                                                          Case 17-40850-mxm7




Landlord   Ridge Pad Site, L.P.            P.O. Box 4615               MSC #900         Houston         Texas        77210
Landlord   GRI West Woods, LLC.            P.O. Box 664001                              Dallas          Texas        75266-4001
Landlord   MFF HB, LLC.                    1820 South Elena Ave. Ste L                  Redondo Beach   California   90277
           SCG River Park Business Center,
Landlord   L.P."                           P.O. Box 847551                              Dallas          Texas        75284-7551


           Garden Fresh Restaurant Corp
                                          15822 Bernardo Center Dr.
                                                                                                                                        Document




           dba Souplantation/Sweet
Landlord   Tomatoes                       Ste. #A                                       San Diego       California   92127
                                                                                                                                                    Page 17 of 17
                                                                                                                                  Doc 10 Filed 03/17/17 Entered 03/17/17 15:39:49
                                                                                                                                                          Desc Main
